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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:19-CR-00043-MCE
12                                 Plaintiff,             STIPULATION AND ORDER BETWEEN THE
                                                          UNITED STATES AND DEFENDANT ALICIA
13                          v.                            MARIE MCCOY

14   ALICIA MARIE MCCOY,

15                                 Defendant.

16

17                                                STIPULATION

18          WHEREAS, the discovery in this case is voluminous and contains personal information

19 including but not limited to Social Security numbers, dates of birth, financial account numbers,

20 telephone numbers, residential addresses, and information potentially regarding confidential informants

21 (“Protected Information”); and

22          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

23 unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court

24 proceedings in this matter;

25          The parties agree that entry of a stipulated protective order is appropriate.

26          THEREFORE, defendant, ALICIA MARIE MCCOY, by and through his counsel of record

27 David Garland (“Defense Counsel”), and plaintiff, the United States of America, by and through its

28 counsel of record, hereby agree and stipulate as follows:

                                                          1
30    STIPULATION AND ORDER
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 1          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 2 Criminal Procedure, and its general supervisory authority.

 3          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 4 part of the discovery in this case (hereafter, collectively known as the “discovery”).

 5          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 6 documents that contain Protected Information with anyone other than Defense Counsel and designated

 7 defense investigators and support staff. Defense Counsel may permit the defendant to view un-redacted

 8 documents in the presence of Defense Counsel or under the supervision of Defense Counsel. The parties

 9 agree that Defense Counsel, defense investigators, and support staff shall not allow the defendant to

10 copy Protected Information contained in the discovery. The parties agree that Defense Counsel, defense

11 investigators, and support staff may provide the defendant with copies of documents from which

12 Protected Information has been redacted.

13          4.      The discovery and information therein may be used only in connection with the litigation

14 of this case and for no other purpose. The discovery is now and will forever remain the property of the

15 United States Government. Defense Counsel will return the discovery to the Government or certify that

16 it has been destroyed at the conclusion of the case.

17          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

18 ensure that it is not disclosed to third persons in violation of this agreement.

19          6.      Defense Counsel shall be responsible for advising the defendants, employees, other

20 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

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30    STIPULATION AND ORDER
                 Case 2:19-cr-00043-DJC Document 43 Filed 04/15/19 Page 3 of 3


 1          7.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

 2 to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

 3 this Order or the Court modifies this Order regarding such transfer of discovery.

 4          IT IS SO STIPULATED.

 5   Dated: April 10, 2019                                  MCGREGOR W. SCOTT
                                                            United States Attorney
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 7                                                          /s/ Grant B. Rabenn
                                                            GRANT B. RABENN
 8                                                          Assistant United States Attorney

 9   Dated: April 10, 2019                                  /s/ David Garland
                                                            DAVID GARLAND
10                                                          Counsel for Defendant Alicia Marie McCoy

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13                                                  ORDER

14          IT IS SO FOUND AND ORDERED this 15th day of April, 2019

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30    STIPULATION AND ORDER
